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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 0:13-cv-60596-KAM

  FABIOLA BENISON, individually,

  Plaintiff,

  v.

  COMMONWEALTH FINANCIAL SYSTEMS,
  INC., d/b/a NCC, a foreign corporation, and
  ASSET ACCEPTANCE CAPITAL CORP.,
  a foreign corporation,

  Defendants.
  _________________________________________/

                                      ORDER OF DISMISSAL

          THIS CAUSE, having come to be heard upon the stipulation of Plaintiff and Defendants,

  and all matters with respect to the captioned litigation between the parties have been amicably

  settled and resolved, the Court having reviewed the stipulation, and having reviewed the

  pleadings and being otherwise fully advised on these premises, it is hereby:

          ORDERED AND ADJUDGED that this action is hereby dismissed with prejudice, with

  each side to bear their own costs and attorney's fees. As to the parties’ request that the Court

  retain jurisdiction for the purpose of enforcing their settlement agreement, see Anago

  Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).
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         The Clerk shall close this case and all pending motions are denied as moot.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 10th day of June, 2013.

                                              ______________________________________
                                              KENNETH A. MARRA
                                              United States District Judge
